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 SOUTHERN DISTRICT OF NEW YORK

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 JOHN P. “JACK” FLYNN                                  :
 LESLIE A. FLYNN,                                      :   Case: 1:21-cv-02587-GHW-SLC
                                                       :
                                                       :   Hon. Sarah L. Cave
                              Plaintiffs,              :
                                                       :
                - against -                            :
                                                       :
 CABLE NEWS NETWORK, INC.,                             :
                                                       :
                              Defendant.               :
                                                       X



                                            NOTICE OF MOTION

        PLEASE TAKE NOTICE that, upon the annexed Memorandum of Law, Declaration of

 Katherine M. Bolger dated June 21, 2021, and Exhibits 1-14 annexed thereto, Defendant Cable

 News Network, Inc. (“CNN”), by and through its undersigned counsel, will move this Court

 before the Honorable Sarah L. Cave at the United States Courthouse for the Southern District of

 New York, 500 Pearl Street, New York, New York, for an order dismissing the Amended

 Complaint with prejudice pursuant to Federal Rule of Civil Procedure 12(b)(6), and for an award

 of costs and fees pursuant to 28 U.S.C. § 1927 and this Court’s inherent authority.




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 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK

                                             X
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 LESLIE A. FLYNN,                             :    Case: 1:21-cv-02587-GHW-SLC
                                              :
                                              :    Hon. Sarah L. Cave
                           Plaintiffs,        :
                                              :
             - against -                      :
                                              :
 CABLE NEWS NETWORK, INC.,                    :
                                              :
                           Defendant.         :
                                             X




      MEMORANDUM OF LAW IN SUPPORT OF MOTION BY DEFENDANT
   CABLE NEWS NETWORK TO DISMISS PLAINTIFFS’ AMENDED COMPLAINT




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          Defendants Cable News Network (“CNN”), hereby submit this memorandum of law in

 support of their motion pursuant to Fed. R. Civ. P. 12(b)(6) for an order dismissing Plaintiffs

 Jack and Leslie Flynn’s (“Plaintiffs”) Amended Complaint with prejudice.

                                    PRELIMINARY STATEMENT

          This defamation lawsuit arises out of a CNN report entitled “CNN Goes Inside A

 Gathering of QAnon Followers” (the “Report”). Plaintiffs are not the subject of the Report, nor

 named in the Report, nor discussed in the Report in anyway. Instead, they appear for less than

 two seconds in a clip from a video posted to Twitter by Jack Flynn’s brother, General Michael

 Flynn (“General Flynn”), enthusiastically distributed by Jack Flynn himself, and incorporated

 into the Report. In that video, General Flynn and Plaintiffs recite the slogan, “Where We Go

 One, We Go All” (the “QAnon Slogan”), a slogan associated with the QAnon conspiracy theory.

 From this silent, unnamed, fleeting appearance, Plaintiffs have concocted a defamation claim

 alleging that CNN called them “violent,” “racist” and “anti-semitic,” among other things. Any

 time spent with the Amended Complaint, however, reveals how meritless this lawsuit is.

          This is not the first time CNN has made the arguments in this memorandum to the

 Plaintiffs. On the contrary, before the Amended Complaint was filed, CNN wrote a Rule 11 Letter

 to Plaintiffs’ counsel outlining the weakness of Plaintiffs’ claim and requesting they withdraw the

 Complaint. Rather than do so, Plaintiffs inexplicably incorporated some of the material from that

 Rule 11 letter into an Amended Complaint they then served on CNN. But their amendments did

 not and could not fix the deficiencies in the original complaint. This matter should never have

 been brought to this Court and it should be dismissed now.

          First, Plaintiffs have failed to plead that the Report is “of and concerning” them. To the

 extent the Report focuses on anyone, it is General Flynn and not the Plaintiffs. Second,

 Plaintiffs have failed to sufficiently allege that the Report is susceptible to the defamatory

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  meaning the Plaintiffs ascribe to it. Simply put, the Report does not accuse Plaintiffs of being

  QAnon supporters, or racists, or violent, or anything of the sort. It simply shows them standing

  next to General Flynn while he says the QAnon Slogan. Third, even if the Report could be said

  to have a defamatory meaning as to Plaintiffs, it must still be dismissed: Plaintiffs have failed to

  plead both that that Report is defamatory per se and that they suffered special damages. Fourth,

  even if this Court could construe the Report to imply that Plaintiffs support QAnon, the evidence

  contained in or referenced by the Amended Complaint establishes the truth of that assertion:

  Plaintiffs admit that they spoke the QAnon Slogan, admit that they have repeatedly used QAnon-

  related hashtags on their Twitter accounts, and admit that they have retweeted known QAnon

  supporters. Even if CNN had labelled Plaintiffs as QAnon supporters, the Report would still be

  substantially true, and is certainly not materially false. Fifth, Plaintiffs have not pleaded that

  CNN acted with the requisite level of fault in making the telecasts. Finally, Plaintiffs’ false light

  invasion of privacy claim fails for the principal reason their defamation claim fails: the Report is

  substantially true. For these reasons, this case must be dismissed, and this court should reward

  CNN costs and fees associated with making this motion.

                                                     FACTS

  A.       The Parties

           Jack and Leslie Flynn are residents of Rhode Island. Am. Compl. ¶ 8. Jack Flynn is the

  brother of General Flynn, who served as former President Trump’s National Security Advisor.

  Declaration of Katherine M. Bolger, Esq., dated June 18, 2021 (“Bolger Decl.”), ¶ 6, Ex. 4 at 1.1

  Jack Flynn maintained an active presence on Twitter, where he gained 1018,000 followers after



  1
    Throughout this brief, CNN cites documents that are incorporated by reference into the Amended Complaint,
  including several news publications and government documents. CNN respectfully requests that this Court take
  notice of these documents. See infra, Section I.


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  re-tweeting a video, originally tweeted by General Flynn, of the Flynn family reading the Federal

  oath of office and the QAnon Slogan. Id. ¶¶ 11, 14-15, Exs. 9, 10 at 3-4.2 Flynn deleted his

  Twitter account on January 8, 2021, two days after the Capitol insurrection and a day after

  Trump was banned from Twitter, because of what he called “censorship of American values and

  truths.” Am. Compl. ¶ 14. When he left Twitter, he had approximately 226,000 followers.

  Bolger Decl. ¶ 15, Ex. 10 at 4. Leslie Flynn’s Twitter account is still active. Id. ¶ 16, Ex. 11.3

           CNN owns and operates numerous news platforms and services, including the television

  network known as CNN and the website www.cnn.com.

  B.       The “#TakeTheOath” Video and Resulting News Coverage

           On July 4, 2020, General Flynn took part in a QAnon Twitter movement called

  #TakeTheOath by sharing a video of himself leading his family, including Plaintiffs, in reciting

  the oath of office given to federal elected officeholders. When the oath is completed, General

  Flynn said the QAnon Slogan, which the other family members, including Plaintiffs,

  subsequently repeat. Am. Compl. ¶ 4. The Flynns then said “God Bless America.” Id. Jack

  Flynn retweeted the video. Bolger Decl. ¶ 11, Ex. 9. Several news outlets, including CNN and

  the Washington Examiner, reported on the video, describing the phrase spoken by the family as a

  “QAnon slogan.” Am. Compl. ¶ 4 n.1; Bolger Decl. ¶ 6, Ex. 4 at 1.

  C.       QAnon

           As the news and government sources incorporated into Plaintiffs’ complaint establish,




  2
    Throughout this brief, CNN also cites documents that are relied on and are integral to the Amended Complaint,
  including numerous Tweets. CNN respectfully requests that this Court take notice of these documents. See infra,
  note 10.
  3
   In the initial complaint, at paragraph 22, Plaintiffs cited to “Jack Flynn’s Twitter account (@GoJackFlynn)” and
  cited to tweets from that account. But, as discussed below, the account @GoJackFlynn no longer exists. In
  addition, Mr. Flynn recently deleted his postings on Parler. In the Rule 11 letter, CNN has asked counsel for
  Plaintiffs to preserve these accounts, and that of Leslie, @lflynn1998, in their entirety.


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  QAnon refers to a movement that promotes a set of unfounded conspiracy theories. Id. ¶ 7, Ex. 5

  at 1. It originated in October 2017 on the message board 4chan, where a user named “Q

  Clearance Patriot” (“Q”), an alleged senior government employee, left messages that followers

  believed revealed a secret plot orchestrated by the Deep State to control the world. Id. ¶ 9, Ex. 7

  at 14. According to QAnon followers, the Deep State is led by a cabal of mostly Democratic

  politicians and influential members of the entertainment and media industries. Id. ¶ 8, Ex. 6 at 2.

  QAnon followers believe that the Deep State sought to undermine former President Trump, but

  that Trump would ultimately prevail by bringing about “The Storm,” or the mass arrest of

  members of the Deep State, and “The Great Awakening,” or the moment when the public at large

  would realize the truth of QAnon theories. Id. The QAnon Slogan is centrally important to the

  QAnon belief system. It has been incorporated into QAnon “anthems,” and is often featured on

  QAnon merchandise. Id. ¶ 10, Ex. 1. Abbreviated as “WWG1WGA,” it is used as a hashtag in

  tweets expressing support for QAnon. Id. ¶¶ 19, 22-23, Exs. 12 at 3, 13 at 1-2. And its use has

  been described as “pervasive” in the QAnon community. Id. ¶ 6, Ex. 4 at 1.

  D.       The Report

           On February 8, 2021, CNN aired the Report as part of the program “Don Lemon

  Tonight.” Am. Compl. ¶ 4; Bolger Decl. ¶ 3, Ex. 1. It was reported by Donie O’Sullivan at a

  QAnon gathering in Arizona two weeks before the January 6, 2021 attack on the U.S. Capitol.

  Bolger Decl. ¶ 3, Ex. 1. A chyron bearing the title of the Report remains at the bottom of the

  screen during the Report (the “Chyron”). Id.

           The Report opens with footage of the gathering. Id. O’Sullivan identifies several

  attendees, including the so-called “QAnon Shaman,” who were allegedly involved in the Capitol

  attack. Id. The Report also shows an individual singing a song that incorporates the phrase

  “where we go one, we go all,” which O’Sullivan explains is an “infamous QAnon slogan that has

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  been promoted by” General Flynn, “Trump’s first national security advisor.” Id. As O’Sullivan

  speaks these words, the Report displays photos of the phrase abbreviated as “#WWG1WGA”

  and printed, with the letter “Q,” on large flags, followed by a clip of General Flynn with Trump

  at a campaign rally. Id. O’Sullivan’s statement is then followed with a portion of General

  Flynn’s July 4 video showing General Flynn speaking the phrase. Id. Plaintiffs, who are not

  named, are also visible in the clip used by CNN for under two seconds, but are not shown

  speaking. Id. The report also includes footage of Trump’s refusal to disavow QAnon and

  concludes with the singer singing the QAnon Slogan. Plaintiffs’ claims arise from the portion of

  the Report containing the clip featuring Plaintiffs. Am. Compl. ¶ 4.

  E.       The Complaint and Amended Complaint

           On March 25, 2021, Plaintiffs brought this action, alleging defamation per se and false

  light invasion of privacy based on the use of the clip of General Flynn’s 4th of July video in the

  Report. Dk. No. 1. The Complaint was filed with the court but not served on CNN.

           On April 15, 2021, CNN sent counsel for Plaintiffs a letter pursuant to Rule 11

  demanding that the Complaint be withdrawn, on the grounds that the Complaint had no basis in

  fact, and that it asserted frivolous arguments without legal support. Bolger Decl. ¶ 4, Ex. 2. The

  letter listed numerous Tweets and hashtags posted or liked by Plaintiffs that evidenced Plaintiffs’

  indisputable support for QAnon. Id. Because the Tweets clearly demonstrated that Plaintiffs

  knew they would be unable to prove falsity, CNN stated that it would raise the issue with the

  Court if the Complaint was not withdrawn within 21 days. On April 29, 2021, counsel

  responded, stating that he would file and serve an Amended Complaint that, per counsel, would

  “address the concerns” raised by CNN. Bolger Decl. ¶ 5, Ex. 3. Plaintiffs served their original

  Complaint the same day. Id. The parties subsequently agreed that CNN’s time to respond would

  be tolled until service of the Amended Complaint. Id.

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           Plaintiffs filed and served their Amended Complaint on May 7, 2021, again alleging one

  count of defamation per se and one count of false light invasion of privacy. Dk. No. 7. The

  Amended Complaint does nothing to cure the original defects. On the contrary, it compounds

  them by including and seeking to explain away some – but notably not all – of the information

  identified in the CNN letter. Bolger Decl. ¶ 4, Ex. 2.4

                                                    ARGUMENT

           This Court must dismiss Plaintiffs’ complaint because they have failed to identify a

  defamatory statement of fact actually made about them in the Report. And even if the Report did

  accuse them of being associated with QAnon, which it does not, it would still be substantially

  true and certainly not materially false. For these reasons, the claim must be dismissed.

  I.       PLAINTIFFS’ CLAIMS MUST BE DISMISSED AS A MATTER OF LAW

           Under Rule 12(b)(6), a complaint may be dismissed for “failure to state a claim upon

  which relief can be granted.” Fed. R. Civ. P. 12(b)(6). “To survive a motion to dismiss, a

  complaint must contain sufficient factual matter . . . to state a claim to relief that is plausible on

  its face.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quotation marks omitted); Koch v.

  Christie’s Int’l PLC, 699 F.3d 141, 145 (2d Cir. 2012). A claim is plausible “when the plaintiff

  pleads factual content that allows the court to draw the reasonable inference that the defendant is

  liable for the misconduct alleged.” Iqbal, 556 U.S. at 678. While the Court must accept factual

  allegations in the complaint as true and draw all reasonable inferences in the plaintiff’s favor, the

  Court is not required to credit “mere conclusory statements” or “[t]hreadbare recitals of the

  elements of a cause of action.” Id. Because “[speech-based tort claims] may be as chilling to the



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    Plaintiffs also claimed in the Amended Complaint that CNN’s letter established that it had reviewed Plaintiffs’
  Twitter feeds prior to the airing the Report – despite it being clear from CNN’s letter that it was based on review of
  the feeds after receiving a copy of the Complaint. Id.


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  exercise of First Amendment freedoms as fear of the outcome of the lawsuit itself,” the Second

  Circuit endeavors, “[to] resolve [such] actions at the pleading stage.” Adelson v. Harris, 973 F.

  Supp. 2d 467, 481 (S.D.N.Y. 2013), aff’d, 876 F.3d 413 (2d Cir. 2017).

           While courts generally may not consider material outside the complaint on a motion to

  dismiss, “the complaint is deemed to include any written instrument attached to it as an exhibit

  or any statements or documents incorporated in it by reference.” Chambers v. Time Warner,

  Inc., 282 F.3d 147, 152–53 (2d Cir. 2002) (internal quotation marks and citations omitted).

  Courts also may rely on a document where the complaint “relies heavily upon its terms and

  effect” rendering it “integral to the complaint.” Id. at 153. Here, the Complaint relies heavily on

  several news articles, transcripts of news broadcasts, a House Resolution, and several Tweets by

  Jack Flynn and others (Am. Compl. ¶¶ 1-2, 4 n.1-2, 15, 19 n.5, 21 n.6, 23.a). See Bolger Decl.

  ¶¶ 6-10, Exs. 4-8. These documents, attached to or referenced in the Amended Complaint, are

  properly considered on this motion to dismiss because they are incorporated by reference into

  and are integral to the Complaint. Judicial notice of documents is also permissible for the

  purpose of establishing that the information was publicly available, rather than for their truth.

  See Staehr v. Hartford Fin. Servs. Grp., Inc., 547 F.3d 406, 425 (2d Cir. 2008).

           A.        Plaintiffs Have Failed To State A Claim For Defamation

           “A plaintiff in a defamation action carries a substantial burden.”5 Alves v. Hometown


  5
    In defamation cases, “‘New York applies the law of the state with the most significant interest in the litigation.’”
  Condit v. Dunne, 317 F. Supp. 2d 344, 352 (S.D.N.Y 2004) (citations omitted). Typically, the law of the “locus” of
  the tort—or the place where the plaintiff suffered injury—applies. See Lee v. BankersTrust Co., 166 F.3d 540, 545
  (2d Cir. 1999). However, in multi-state defamation cases, “the tort essentially lacks a locus, but rather injures
  plaintiff everywhere at once.” Condit, 317 F. Supp. 2d at 353. New York courts therefore weigh several factors to
  determine which state has the most “significant relationship” to the litigation. Adelson, 973 F. Supp. 2d at 477.
  These factors include “where plaintiff suffered the greatest injury,” “where the statements emanated and were
  broadcast,” “where the activities to which the allegedly defamatory statements refer took place,” and “the policy
  interests of the states whose law might apply.” Condit, 317 F. Supp. 2d at 353-54. In the instant action, Plaintiffs
  reside in Rhode Island. See Am. Compl. ¶ 8. CNN is incorporated in Delaware, and Plaintiffs allege that it has “a”
  primary place of business in New York. Id. ¶ 9. The Report emanated from New York. Id. The activity at issue –

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  Newspapers, Inc., 857 A.2d 743, 750 (R.I. 2004). To prevail, a plaintiff must prove: “(a) a false

  and defamatory statement concerning another; (b) an unprivileged publication to a third party;

  (c) fault amounting at least to negligence on the part of the publisher; and (d) damages, unless

  the statement is actionable irrespective of special harm.” Healey v. New England Newspapers,

  Inc., 555 A.2d 321, 324 (R.I. 1989) (internal quotation marks omitted). Here, Plaintiffs have

  failed to satisfy even these most basic elements of a defamation claim.

                     1.       The Report Is Not Of And Concerning Plaintiffs

           First, Plaintiffs cannot establish that the Report made any statements at all, much less

  defamatory ones, about the Plaintiffs. Plaintiffs bear the burden of pleading and proving that the

  alleged defamation is about or, put differently, “of and concerning” him or her. Budget Termite

  & Pest Control, Inc. v. Bousquet, 811 A.2d 1169, 1172 (R.I. 2002) (“If the words have no

  personal application to the plaintiff, they are not actionable by him.”) Critically, “[d]efamation

  is personal; … Allegations of defamation by an organization and its members are not

  interchangeable.” Jankovic v. Int’l Crisis Grp., 494 F.3d 1080, 1089 (D.C. Cir. 2007).

           In this case, it is not clear from the Amended Complaint what defamatory statement CNN

  made about the Plaintiffs for the simple reason that the Report says nothing about the Plaintiffs.

  Plaintiffs’ primary complaint seems to be that they were “harmed by the mere association with

  QAnon,” Am. Compl. ¶ 19 n.6, which is described by CNN in other telecasts as a “‘dangerous’,

  ‘violent’, ‘racist’, ‘extremist’, ‘insurrectionist’, ‘domestic terrorism’ movement.” Id. ¶ 3. But

  the Report includes none of this language, which is plainly pulled from other news publications,

  nor does it say Plaintiffs are associated with QAnon. The Report says General Flynn uses



  Plaintiffs’ recitation of the QAnon Slogan – occurred in Rhode Island. Id. ¶ 4. Though Plaintiffs fail to allege
  specific injury, the greatest harm they allege they may suffer will occur, if at all, in Rhode Island. Id. ¶ 8.
  Accordingly, CNN has briefed this motion under Rhode Island law. However, should the Court decide that New
  York law applies, CNN reserves the right to rebrief under New York law.

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  QAnon slogans – but Plaintiffs are not General Flynn, and being associated with someone is not,

  absent more, defamatory.6 See Tracy v. Newsday, Inc., 5 N.Y.2d 134, 138 (1959) (statement that

  plaintiff aided criminal was “false and probably offensive, but … not actionable”). Instead, in

  the actual Report, Plaintiffs are barely seen, are not identified, and are not heard saying anything.

  In short, the Report does not associate the Plaintiffs with QAnon. On the contrary, it says

  absolutely nothing about the Plaintiffs. For this reason, the Complaint must be dismissed.

                     2.       The Challenged Report Is Not Susceptible Of A Defamatory Meaning

           This Court should also dismiss Plaintiffs’ Amended Complaint on the alternate ground

  that the Report is not susceptible of a defamatory meaning. The Report simply does not say what

  Plaintiffs say it does. Words are defamatory if they are false and “imput[e] conduct which

  injuriously affects a [person’s] reputation, or which tends to degrade him [or her] in society or

  bring him [or her] into public hatred and contempt.” Elias v. Youngken, 493 A.2d 158, 161 (R.I.

  1985). Whether a statement is susceptible to a defamatory meaning is a question of law for the

  court. Id. It is routinely decided at the pleading stage. See, e.g., Burke v. Gregg, 55 A.3d 212,

  220 (R.I. 2012) (“Even [under] the liberal Rule 12(b)(6) standard, … plaintiffs [have not] stated

  a claim upon which they could recover because [the] article, as a matter of law, was not

  defamatory.”) Where, as here, a plaintiff has not adequately pled that a challenged statement

  contains a defamatory meaning, the complaint must be dismissed.



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    Plaintiffs cite a January 31, 2021 “Special Report” by Anderson Cooper that “spread false narratives about
  QAnon,” including that its theories were based on “racist” beliefs, and it was a “dangerous and violent …
  insurrectionist [movement].” Am. Compl. ¶ 2. Plaintiffs also cite a House Resolution that notes an FBI assessment
  that “conspiracy theories, including QAnon, very likely motivate some domestic extremists.” Bolger Decl. ¶ 7, Ex.
  5 (internal quotations omitted). And Plaintiffs assert that the FBI and the Department of Homeland Security have
  classified QAnon as a “‘domestic violence extremist’ (‘DVE’) group” and a “‘domestic terrorism threat.’” Am.
  Compl. ¶ 1. Finally, Plaintiffs cite to a Twitter thread by General Flynn’s attorney Sidney Powell and to a CNN
  report from July 7, 2020 that reported on the Flynns’ video (neither of which assert that #TaketheOath involves
  pledging allegiance to QAnon). The Report describes the “insurrection” on the Capitol but takes pains to note that
  only two of the individuals attending the Arizona gathering were accused of participating. Bolger Decl. ¶ 3, Ex. 1.


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           On a motion to dismiss, “court[s] must consider the allegedly defamatory words in the

  context of the publication in which they appear, rather than read them in isolation.” Id. at 218

  (internal quotations omitted); see also Geary v. Goldstein, No. 91 CIV. 6222 (KMW), 1996 WL

  447776, at *2 (S.D.N.Y. Aug. 8, 1996) (“a court deciding whether a statement may reasonably

  be interpreted as defamatory must take into account the full context in which the statement was

  promulgated”). “Language is not to be forced or tortured in libel cases in order to make it

  actionable.” McCann v. Shell Oil Co., 551 A.2d 696, 698 (R.I. 1988).

           Here, Plaintiffs allege the Report defamed them by calling them supporters of “the

  ‘dangerous’, ‘violent’, ‘racist’, ‘extremist’, ‘insurrectionist’, ‘domestic terrorism’ movement –

  QAnon.” Am. Compl. ¶ 3. But this claim fails for three reasons. First, in assessing defamatory

  meaning, this Court must look to the actual words published by CNN. Bichler v. Union Bank &

  Tr. Co. of Grand Rapids, 745 F.2d 1006, 1009 n.1 (6th Cir. 1984) (declining to consider

  allegedly defamatory statement that was not included in broadcast at issue); Desnick v. Am.

  Broad. Companies, Inc., 44 F.3d 1345, 1355 (7th Cir. 1995) (“If the broadcast itself does not

  contain actionable defamation … then the target has no legal remedy”) (citations omitted). And

  none of those words are in the Report. All that is stated in the Report when the Flynns’ images

  are shown is that the QAnon Slogan is promoted by General Flynn.

           Second, Plaintiffs allege that they have been defamed by a juxtaposition of the shortened

  clip, the Chyron, and O’Sullivan’s narration, which “insinuates” that Plaintiffs were “involved in

  or with the violent extremist group QAnon,” Am. Compl. ¶¶ 4, 16. But this claim also fails

  because courts throughout the country have repeatedly held that the defamatory implication

  flowing from a headline or banner may be “temper[ed] by the content of a [broadcast]: the article

  may clarify the headline in such a way that no reader could reasonably believe the defamatory



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  meaning of the headline.” Crall v. Gannett Satellite Info. Network, Inc., No. C-2-92-233, 1992

  WL 400713, at *3 (S.D. Ohio Nov. 6, 1992) (headline that intimated that plaintiff faced jail

  sentence for misdemeanor was not defamatory where article made clear he only had to pay a

  fine); see Bray v. Providence J. Co., 220 A.2d 531, 534 (R.I. 1966) (“the article, when read in its

  entirety, is not reasonably capable of conveying to the ordinary mind the defamatory meaning

  alleged in the headline”). Here, the content of the Report negates any potential implication

  arising from the juxtaposition at issue. Plaintiffs fleetingly appear in the Report only because

  they are standing next to General Flynn as he speaks the same QAnon Slogan sung by attendees

  at the gathering – and because General Flynn and Jack Flynn actively sought publicity for the

  family’s oath-taking by posting the video to Twitter. CNN included the clip of General Flynn

  speaking the QAnon Slogan to show the degree to which elected officials and political

  appointees – namely, Trump and General Flynn – gave legitimacy to the beliefs of QAnon

  supporters for their political gain. Bolger Decl. ¶ 3, Ex. 1. The Report’s narration drives this

  point home, noting that “the message to the people in this room was clear: Trump was on their

  side.” Id.

           Finally, Plaintiffs claim they were defamed by the implication or innuendo that they are

  racists or terrorists because of what other CNN reports in other contexts say about QAnon. The

  Flynns appear to try to claim defamation by the transitive property – i.e., because Plaintiffs

  allege this telecast accuses them of being QAnon followers and other telecasts describe QAnon

  as, e.g., “racist,” they have somehow been called “racist” in the Report. And, not surprisingly, it

  is not supported by the law. In assessing whether it is defamatory, this Court must focus on

  actual words contained in the Report, not those from other telecasts that Plaintiffs seek to

  include. Marcil v. Kells, 936 A.2d 208, 215 (R.I. 2007) (“We have said that innuendo may be



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  used to define the defamatory meaning of words that may be equivocal, but it cannot be used to

  introduce new matter or to enlarge the meaning of words or give to language a construction it

  will not bear.”); see also Bray, 220 A.2d at 534 (holding that the word “testimony” could not be

  enlarged to mean testimony “under oath” because “under oath” did not appear in the publication

  at issue and there was no extrinsic evidence to demonstrate that the testimony was known to be

  taken under oath). And while extrinsic evidence may be considered where there is an affirmative

  allegation that someone other than a plaintiff understood the alleged defamatory statement in the

  same way a plaintiff does, there is no such evidence here. Marcil 936 A.2d at 214-15. In sum,

  the Report is not susceptible of a defamatory interpretation about Plaintiffs and the Amended

  Complaint must be dismissed.

                     3.       Plaintiffs Have Failed To Plausibly Allege Defamation Per Se

           Even if the Report could be said to have some critical meaning about Plaintiffs, in Rhode

  Island, recovery for defamation requires that the plaintiff plead special damages unless a

  challenged statement is defamatory per se. Lyons v. Rhode Island Public Employees Council 94,

  516 A.2d 1339, 1342 (R.I. 1986). To be actionable as defamatory per se, “the false statement

  must impute to the other: (1) a ‘criminal offense,’ (2) a ‘loathsome disease,’ (3) a ‘matter

  incompatible with his business, trade, profession, or office,’ or (4) a ‘serious sexual

  misconduct.’” Marcil, 936 A.2d at 212. Critically, “the disparaging words must affect the

  plaintiff in some way that is peculiarly harmful to one engaged in his trade or profession;

  disparagement of a general character, equally discreditable to all persons, is not enough unless

  the particular quality is peculiarly valuable to the plaintiff[’]s business or profession.” Id. at 213.

           Here, Plaintiffs have not adequately pled per se defamation. They do not assert that

  being a QAnon follower is a criminal offense, or that it amounts to a loathsome disease or

  serious sexual misconduct. Plaintiffs merely state that the Report “accuse[s] and imputes to

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  Plaintiffs an unfitness to perform the duties of an office or employment for profit.” Am. Compl.

  ¶ 19. These conclusory statements are insufficient. Plaintiffs allege no facts suggesting that

  being a QAnon follower is remotely harmful to be being “a stay-at-home Mom.” Id. ¶ 8. They

  are slightly more specific as to Jack Flynn, alleging the Report made him “odious and unfit or

  less fit to fulfill the duties of General Manager of an international seafood business.” Id. But

  being accused of being a member of QAnon has no specific bearing on the qualities of a manager

  of a seafood business. Courts have held that statements with a much closer connection to a

  plaintiff’s profession were not defamatory per se. See, e.g., Swerdlick v. Koch, 721 A.2d 849,

  861 (R.I. 1998) (allegations that plaintiff did not pay his taxes were not defamatory per

  se because such statements did not, in any way, affect or relate to his business); Marcil, 936 A.2d

  at 213 (allegations that plaintiff threatened to prevent defendant from doing business with

  plaintiff’s employer “did not in any way harm plaintiff’s business reputation”). Common sense

  also dictates that there were no special damages here, as Flynn himself chose to distribute the full

  #TaketheOath video in July 2020 – a video containing him and his wife saying the QAnon

  Slogan. If that distribution did not cause special damages in 2020, then less than two seconds of

  the video cannot credibly have caused them harm in 2021.

           Nor have the Plaintiffs sufficiently pled special damages. A plaintiff must provide “an

  adequate factual assertion of actual economic harm that establishes special damages.” Sequin,

  LLC v. Renk, No. CV 20-62WES, 2021 WL 124250, at *10 (D.R.I. Jan. 13, 2021), report and

  recommendation adopted, No. CV 20-062 WES, 2021 WL 391519 (D.R.I. Feb. 4, 2021).7 But

  Plaintiffs only state that CNN has caused “special damages, … career damages, loss of future

  earnings, [and] impaired and diminished earning capacity,” and that Jack “is afraid he will be


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   See also Restatement (Second) of Torts § 575 cmt. b (1977) (“special harm [is] the loss of something
  having economic or pecuniary value,” not a mere loss of reputation).


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  terminated” from his job. Am. Compl. ¶¶ 8, 21. These boilerplate recitals and allusions to

  purely speculative future harm are plainly “not enough for plausibility.” Sequin, 2021 WL

  124250 at *10. Accordingly, Plaintiffs have pled neither a statement that is defamatory per se

  nor have they pled special damages, and their claim must be dismissed.

                     4.       Even Plaintiffs’ Tortured Interpretation Of The Report Is, As A
                              Matter of Law, Substantially True And Not Materially False, And
                              The Complaint Must Be Dismissed

           In the alternative, even if the Report is susceptible to some version of the defamatory

  meaning Plaintiff imputes to it (which it is not), it is clear that, based on Plaintiffs’ own pleaded

  evidence, the Report is substantially true, and certainly not false. Plaintiffs have not only

  endorsed QAnon, they have publicized their endorsement on Twitter. Am. Compl. ¶ 23.a;

  Bolger Decl. ¶¶ 17-23, Exs. 12-13.

                              a.     Plaintiffs Have Failed To Plead Material Falsity

           The United States Supreme Court has held, based on First Amendment principles, that

  “where a newspaper publishes speech of public concern, a … plaintiff cannot recover damages

  without also showing that the statements at issue are false.” Philadelphia Newspapers, Inc. v.

  Hepps, 475 U.S. 767, 768-69 (1986). See also RainSoft v. MacFarland, 350 F. Supp. 3d 49, 59

  (D.R.I. 2018) (holding that, in order to establish a defamation claim, a plaintiff must show that a

  statement regarding an issue of public concern has a defamatory meaning that is “materially

  false.”) (citing Pan Am Sys., Inc. v. Atl. Ne. Rails & Ports, Inc., 804 F.3d 59, 68 (1st Cir. 2015)).

  Statements of public concern include those “that touch on issues in which the public (even a

  small slice of the public) might be interested, as distinct, say, from purely personal squabbles.”

  Pan Am Sys., 804 F.3d at 66. It is indisputable that a Report about QAnon is a public

  controversy. See Am. Compl. ¶ 1 (“adherents of QAnon were among the most prominent

  members of the mob who stormed the … Capitol”) (internal quotation marks omitted); Am.

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  Compl. ¶¶ 1-2, 4 n. 1-2, 15 n.3, 19 n.6 (citing reporting from the Washington Examiner, 60

  Minutes, CNN, and Politico); Am. Compl. ¶ 5 (noting that House of Representatives passed a

  resolution condemning QAnon).

           Plaintiffs must, therefore, show that the Report is false. See Tannerite Sports LLC v.

  Universal News Group, 864 F.3d 236 (2d Cir. 2017). But Plaintiffs cannot even begin to meet

  that burden here because they have not even successfully pled material falsity as to the actual

  statements in the Report. To the extent the Report says anything about Plaintiffs, it is that they

  stood next to General Flynn when he uttered the QAnon Slogan. Plaintiffs have not pled this is

  false – i.e., they have not pled they did not speak the QAnon Slogan. Instead, they claim they

  did not mean it in the QAnon way, Am. Compl. ¶ 23.a., that the QAnon Slogan carries a variety

  of meanings (such as “acknowledging the unity of humankind” or “support for each other”), id. ¶

  4 n.1, and that it originated either as an engraving on a bell owned by John F. Kennedy or that it

  came from a Ridley Scott film. Id. Similarly, they admit they have expressed support for

  QAnon, but say they do not support all QAnon principles. Id. ¶ 23.a. But this is not the kind of

  pleading of material falsity that is required in defamation claims.

           On the contrary, just such evasive pleading has been rejected by other courts. In

  Hohmann v. GTECH Corp., for example, the court considered defamation claims related to a

  statement by a defendant that lottery tickets that may have been altered by the plaintiffs to try

  and claim a large cash prize. 910 F. Supp. 2d 400, 403-04 (D. Conn. 2012). Instead of claiming

  in the complaint that this statement was false, the plaintiffs merely asserted that the defendant

  “knew or should have known that he could not be ‘certain’ that the ticket was a ‘fraud’ and/or

  that his [statement] widely diverged from the truth.” Id. at 408. This, the court held, was plainly

  insufficient, because “[t]o say that [the defendant] could not be certain that the Ticket was not a



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  fraud is not the same thing as saying that the ticket was not in fact a fraud.” Id. In an analysis

  equally applicable to this case, the court made clear that “failure to allege falsity is not a mere

  formality.” Id. See also Quantum Elecs. Corp. v. Consumers Union of U.S., Inc., 881 F. Supp.

  753, 767 (D.R.I. 1995) (in dispute over rating in consumer magazine, manufacturer did not show

  falsity where it merely disputed magazine’s testing methodology, choice of machine, and final

  metrics, but failed to dispute actually reported results); Cabello-Rondon v. Dow Jones & Co.,

  Inc., 16-cv-3346 (KBF), 2017 WL 3531551, at *6 (S.D.N.Y. Aug. 16, 2017), aff’d, 720 F. App’x

  87 (2d Cir. 2018) (in suit over reporting about plaintiff’s criminal activity, plaintiff did not meet

  his pleading burden where his “convoluted” explanation of falsity did not identify “how the

  defendant’s statement was false”) (internal quotations omitted) (emphasis in original). Here, as

  in Hohmann, Plaintiffs have sought “every possible route to avoid pleading the essential fact”:

  that the statement that they promoted the QAnon Slogan is false. Hohmann, 910 F. Supp. 2d at

  408. Plaintiffs may want us to think that they said the QAnon Slogan because they were feeling

  poetic or having a great fondness for 1990s sailing movies, but the truth is that they said it and

  then publicized their having done so on Jack Flynn’s Twitter feed. They have not pled material

  falsity.

                              b.     It Is Substantially True That Plaintiffs Followed And
                                     Supported QAnon

             Even if the Report does accuse Plaintiffs of supporting or following QAnon – which it

  does not – Plaintiffs’ claim must be dismissed because that allegation is substantially true.

  Statements are substantially true even if they admit of “[m]inor inaccuracies[,] ... so long as the

  substance, the gist, the sting, of the libelous charge be justified.” Masson v. New Yorker

  Magazine, Inc., 501 U.S. 496, 517 (1991) (quotation marks omitted); accord Healey, 555 A.2d at

  325. “To qualify as material the alleged misstatement must be likely to cause reasonable people


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  to think significantly less favorably about the plaintiff than they would if they knew the truth.”

  Bustos v. A & E Television Networks, 646 F.3d 762, 765 (10th Cir. 2011) (emphasis in original).

  The inquiry focuses on the viewpoint of a reasonable person in “mainstream contemporary

  society,” not that of the “insular group” to which the plaintiff may belong. Id. at 765.

           Not only did Plaintiff promote their use of the QAnon Slogan in the #TaketheOath video,

  but as the evidence included in the Amended Complaint shows they have actively endorsed

  QAnon as a movement. For instance, according to Jack Flynn, “there is nothing wrong with

  QAnon. Just People doing their own research and learning independence of thought to find the

  truth.” Am. Compl. ¶ 23.a. In fact, “most people who seem pretty normal to me who support the

  idea of Q.” Id. In fact, Jack Flynn is so comfortable supporting the QAnon movement that he

  responded to a now-banned Twitter user’s tweet by posting the image of “WHERE WE GO

  ONE WE GO ALL” and “Q” emblazoned on an American flag, with the answer “if this means

  you believe in the constitution and equal justice under the law then this works for me.”8 Id.

           But that’s not all. Plaintiffs have tweeted or retweeted posts and images that express

  undeniable support for QAnon that are not included in the Amended Complaint but were

  provided to Plaintiffs in the Rule 11 letter.9 For instance, on or around July 5, 2020, Jack Flynn


  8
   Plaintiffs assert that these tweets and others show that Jack Flynn “embraced the Constitution and equal justice
  under the law, as he stated in tweet after tweet, not the dangerous, extremist, racist, anti-Semitic and violent beliefs
  espoused by QAnon.” Am. Compl. ¶ 23.a. But these beliefs are, sadly, not mutually exclusive. As reported in the
  articles Plaintiffs rely on, “QAnon supporters are typically pro-Trump [and] emphasize their patriotism for the U.S.”
  Bolger Decl. ¶ 6, Ex. 4 at 2. Indeed, QAnon supporters have run for Congress, and view #TaketheOath as
  expressing support for both the United States and QAnon. Id.
  9
    As noted above (see Section I), a court may consider documents where a “complaint relies heavily upon [their]
  terms and effect, which renders the document integral to the complaint.” Chambers, 282 F.3d at 153; see Cortec
  Indus., Inc. v. Sum Holding L.P., 949 F.2d 42, 46 (2d Cir. 1991). Here, Plaintiffs allege that CNN reviewed
  Plaintiffs’ Twitter feeds prior to the Report, and so knew that Plaintiffs were not supporters or followers of QAnon.
  Am. Compl. ¶ 23.a. Plaintiffs also include screenshots of numerous Tweets by Jack Flynn in the body of the
  complaint, reference without quoting several other Tweets, provide their Twitter aliases and, in the case of Jack
  Flynn, whose account was disabled, the URL at which the feed has been archived. See Am. Compl. ¶¶ 14, 23.a and
  n.7. Plaintiffs clearly knew of and relied on the feeds in drafting their Amended Complaint, and do not dispute their
  authenticity or relevance. The Court can and should consider the feeds in their entirety. See Ganske v. Mensch, 480
  F. Supp. 3d 542, 546 (S.D.N.Y. 2020) (in case over allegedly defamatory tweet, court took notice of additional

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  tweeted a photograph of his brother, wearing a “Q” pin on his lapel, standing in front a cascade

  of green lettering and beneath the words “The Great Awakening”. Bolger Decl. ¶ 17, Ex. 12 at

  1; see also id. ¶ 8, Ex. 6 at 2 (describing meaning of “the Great Awakening”). On August 21,

  2020, he shared a post stating that “Qanon is not a violent conspiracy. We are every day [sic]

  people seeking truth. I am a family man. I am educated, and run my own business. I work hard,

  and spend my spare time with my family. I enjoy golf                  . Qanon’s [sic], share and tell your

  story.         .” Id. ¶ 18, Ex. 12 at 2. He retweeted an image titled “QAnon vs. Antifa: A

  Breakdown,” according to which, QAnon’s mission is “Exposing Corruption[,] … Evil (inc.

  child trafficking)[,] … Deception[, and] Preserving Freedom.” Id. ¶ 19, Ex. 12 at 3.10 And

  Leslie Flynn has at least twice “liked” QAnon related Tweets. One contains the hashtags

  #WWG1WGA, #TheGreatAwakening, and #Q. The other includes an illustration that includes

  “#WWG1WGA” and what appears to be General Flynn standing next to the letter Q. Id. ¶¶ 22-

  23, Ex. 13.11

           It is, therefore, true that Plaintiffs have supported or followed QAnon in the past. This

  truth is undeniable even if, as it appears, Plaintiffs now want to distance themselves from the

  more violent aspects of the movement. In this way, this case is just like Lovejoy v. Mutual

  Broadcasting System – a case cited by Plaintiffs. There, the court held the defendants had not




  tweets that were “integral to the allegations in the complaint and necessary to place [defendant’s] comments in
  context”); Condit, 317 F. Supp. 2d at 356 (taking into consideration the entirety of “recordings and transcripts [that]
  are referenced and quoted at length in the complaint … because plaintiff relies on them and they are integral to
  plaintiff’s action.”) Accordingly, CNN has annexed several Tweets appearing in the Flynns’ feeds as Exhibits to the
  Bolger Declaration.
  10
     See also id. ¶ 20, Ex. 12 at 4 (retweet on September 16, 2019 of post by “QBlueSky” containing images of
  message board posts signed by “Q,” and the hashtag “#QAnon”); id. ¶ 21, Ex. 12 at 5-7 (retweets of posts featuring
  user “whaleswarrior” in “Q” merchandise, including hats bearing the letter “Q”).
  11
    Moreover, Jack Flynn concedes that he used hashtags like #HoldTheLine and #DigitalSoldiers. Am. Compl. ¶ 18.
  Plaintiffs allege that these hashtags “largely track[]” family and political developments, but do not dispute – indeed,
  cannot dispute – that they are also routinely used by QAnon supporters. Id. ¶ 21, Ex. 12 at 7.

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  defamed the plaintiff by calling him “a Nazi and Hitler sympathizer” because the statement was

  not materially false. 220 S.W.2d 308, 314 (Tex. Civ. App. 1948). The plaintiff had written

  letters during the war calling the German people a “great race … who [fight] well and bravely

  [and] treat[] our prisoners with great consideration” and equating Germany and Japan’s actions

  to the creation of England’s empire. Id. at 310, 314. Because the letters “evidence[d] …

  sympathetic leaning toward” the Nazi Party and were “susceptible of the interpretation that there

  was some sympathy for the German people through whom the Nazi party was functioning,” the

  challenged statement was substantially true. Id. at 314. See also Bustos, 646 F.3d at 762-73

  (report that plaintiff was a member of the Aryan Brotherhood was truthful where he had been

  seen with members of the gang and had helped them smuggle drugs, because to a “reasonable

  member of the (law abiding) contemporary community,” the difference between being a member

  and being an affiliate was minor, and the broadcast not actionable for being substantially true.)

  Accord Haynes v. Alfred A. Knopf, Inc., 8 F.3d 1222, 1226–29 (7th Cir. 1993) (allegation that

  father left his children at home alone was nonactionable where evidence showed he was a bad

  father in other ways). Here, as in Lovejoy, Plaintiffs have expressed considerable sympathy and

  support for QAnon, and have even defended it, stating that “there is nothing wrong with

  QAnon.” Am. Compl. ¶ 23.a. Implying (or even stating) that Plaintiffs are “supporters and

  followers” of QAnon is not actionable – it is implying (or stating) the truth. It is possible that

  Plaintiffs have decided to reject QAnon now that some of its adherents may be prosecuted for

  participating in an insurrection. But in for a penny, in for a pound. It is simply incorrect to

  allege that Plaintiffs have never supported QAnon. The Report is truthful.

                     5.       Plaintiffs Cannot Plead The Requisite Level of Fault

                              a.     Jack Flynn Has Failed To Adequately Plead Actual Malice

           In the alternative, the Amended Complaint should be dismissed as to Jack Flynn because

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  Mr. Flynn has failed to state any facts that plausibly allege that CNN acted with subjective

  knowledge that the challenged statements were false. A public official or figure may not recover

  damages for a defamatory falsehood unless “he proves that the statement was made with ‘actual

  malice’—that is, with knowledge that it was false or with reckless disregard of whether it was

  false or not.” N.Y. Times Co. v. Sullivan, 376 U.S. 254, 279-80 (1964). Courts have delineated

  two kinds of “public figure” defamation plaintiffs. A “general purpose public figure” is someone

  who has “assumed [a] role[] of especial prominence in the affairs of society.” Gertz v. Robert

  Welch, Inc., 418 U.S. 323, 345 (1974). A “limited purpose public figure,” by contrast, is

  someone who “voluntarily injects himself or is drawn into a particular public controversy and

  thereby becomes a public figure for a limited range of issues.” Id. at 351-52. The law is clear

  that a public figure libel plaintiff bears the burden of proof on actual malice, a burden he must

  carry by “demonstrat[ing] with clear and convincing evidence that the defendant realized that his

  statement was false or that he subjectively entertained serious doubts as to the truth of his

  statement.” Bose Corp. v. Consumers Union of U.S., Inc., 466 U.S. 485, 511 n.30 (1984). See

  also St. Amant v. Thompson, 390 U.S. 727, 731 (1968) (“There must be sufficient evidence to

  permit the conclusion that the defendant in fact entertained serious doubts as to the truth of his

  publication.”); Major v. Drapeau, 507 A.2d 938, 941 (R.I. 1986) (same). Allegations of actual

  malice must pass the “plausibility test” imposed by Bell Atlantic Corp. v. Twombly, 550 U.S. 544

  (2007) and Ashcroft, 556 U.S. at 662. “A public-figure plaintiff must plead ‘plausible grounds’

  to infer actual malice by alleging ‘enough fact[s] to raise a reasonable expectation that discovery

  will reveal evidence of’ actual malice.” Biro v. Conde Nast, 807 F.3d 541, 546 (2d Cir. 2015)

  (citation omitted). See also Schatz v. Republican State Leadership Comm., 669 F.3d 50, 58 (1st

  Cir. 2012); Mayfield v. Nat’l Ass’n for Stock Car Auto Racing, Inc., 674 F.3d 369, 377-78 (4th



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  Cir. 2012).

                                     (i)      Jack Flynn Is A Limited Purpose Public Figure

             There is no doubt that Mr. Flynn is a limited purpose public figure. “If the individual has

  thrust himself into the vortex of [a] public issue or has engage[d] the public’s attention in an

  attempt to influence its outcome, then he or she may, for the limited purpose of that issue, be

  considered a public figure.” Major, 507 A.2d at 941 (citing Gertz, 418 U.S. at 352); Capuano v.

  Outlet Co., 579 A.2d 469 (R.I. 1990) (owners of waste collection company were limited purpose

  public figures as to controversy over mob-related waste hauling scheme by virtue of their

  business and their public comments). Whether a plaintiff is a public figure is a question of law.

  DeCarvalho v. daSilva, 414 A.2d 806, 813 (R.I. 1980).

             QAnon is clearly a public controversy.12 See Bolger Decl. ¶¶ 6-10, Exs. 4-8. And

  Mr. Flynn has been anything but silent on this issue: he has used his Twitter feed to advocate for

  his brother, defend QAnon, to discuss the meaning behind #WWG1WGA and to debunk the

  most outlandish of the QAnon theories (that John F. Kennedy, Jr. is still alive). Am. Compl.

  ¶ 23.a. Soon after his brother first posted the #TakeTheOath video and he retweeted it, Mr.

  Flynn commented on – and retweeted others who also commented on – the resulting controversy.

  Id.; Bolger Decl. ¶ 24, Ex. 14. In fact, he rode his own participation in the controversy to a

  substantial social media following. His Twitter following grew from approximately 108,000 on

  July 5, 2020 – when the #TakeTheOath video was first posted to Twitter – to approximately

  226,000 on January 8, 2021, when he left Twitter seven months later.13 Bolger Decl. ¶¶ 14-15,

  Ex. 10 at 3-4. See Jackson v. Mayweather, 10 Cal. App. 5th 1240, 1248 (Cal. 2017), as modified



  12
       See supra, Section A.4.a.
  13
    For comparison, it took nearly a year for him to gain his first hundred thousand followers. Bolger Decl. ¶¶ 12-13,
  Ex. 10 at 1-2.


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  (Apr. 19, 2017) (plaintiff was a public figure where she had “promoted her own status as a

  celebrity and had [between] 47,145 Twitter followers … and 78,628 Twitter followers”). There

  is no question that Mr. Flynn is a public figure for the purpose of this lawsuit.

                                     (ii)   Plaintiffs Cannot Show That CNN Acted With Malice

           As a limited purpose public figure, Mr. Flynn must therefore plausibly allege actual

  malice in order to survive a motion to dismiss. “The standard of actual malice is a daunting

  one.” Howard v. Antilla, 294 F.3d 244, 252 (1st Cir. 2002) (citation omitted). “Actual malice

  means knowledge that the statement was false or reckless disregard of whether or not it was true

  or false,” Major, 507 A.2d at 940. Reckless disregard requires that a defendant “entertained

  serious doubts as to truth of [the] publication,” St. Amant, 390 U.S. at 731, or had a “high degree

  of awareness of ... probable falsity.” Garrison v. State of La., 379 U.S. 64, 74 (1964). A public

  figure must prove actual malice by “clear and convincing evidence.” Lyons, 559 A.2d at 1343.

           Jack Flynn cannot meet this burden. Plaintiffs allege that CNN “acted with actual malice

  and reckless disregard for the truth” because it had reviewed Mr. Flynn’s Twitter feed and

  therefore had “no basis for linking … Jack to any domestic violent extremist groups.” Am.

  Compl. ¶ 23.a. This strains credulity, especially since Mr. Flynn’s feed (as referenced in the

  Amended Complaint and detailed above) is replete with support for and defenses of QAnon, its

  followers, and its slogans. Most damning of all, Jack Flynn’s Twitter feed would show the very

  video of him saying the QAnon Slogan that he now complains of – a video he himself chose to

  tweet on or around July 4, 2020. Bolger Decl. ¶ 11, Ex. 9. None of the above remotely

  demonstrates that CNN entertained “serious doubts” about the truth of the statements, St. Amant,

  390 U.S. at 731, or had a high degree of awareness of their falsity, Garrison, 379 U.S. at 74. To

  the contrary, it demonstrates that Mr. Flynn’s support for QAnon was obvious – and that, even if



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  CNN had reviewed Mr. Flynn’s Twitter account prior to airing the Report, it would have had

  absolutely no reason to doubt the truth of the Report.14

                               b.       Leslie Flynn Has Failed To Plausibly Allege Negligence

             Nor has Leslie Flynn adequately alleged negligence. Under Rhode Island law, a private

  figure plaintiff must prove “fault amounting at least to negligence on the part of the publisher.”

  Healey, 555 A.2d at 324 (citing Restatement (Second) Torts § 558 (1977)); see also Capuano,

  579 A.2d at 472. Negligence requires a showing that the defendant had no “reasonable grounds

  for believing that the communication was true.” Restatement (Second) of Torts § 580B (1977).

  Plaintiffs again fail to meet their pleading burden, as they have pled no facts that plausibly allege

  negligence as to Leslie Flynn.15 See Shay v. Walters, 702 F.3d 76, 82–83 (1st Cir. 2012)

  (upholding dismissal based on 12(b)(6) standard, court held that “complaint does not contain any

  facts suggesting that the defendant acted negligently in publishing the challenged statements”);

  Veilleux v. Nat’l Broad. Co., 206 F.3d 92, 128 (1st Cir. 2000) (no negligence where potentially

  misleading statements about long-haul truckers were made based on plaintiff’s own admissions

  prior to broadcast). As an initial matter, Plaintiffs concede that Ms. Flynn spoke the words

  “where we go one, we go all.” Am. Comp. ¶ 4. As discussed above, Plaintiffs also provide

  substantial evidence that the QAnon Slogan is a core QAnon belief. See supra, Section C.



  14
     Plaintiffs also allege that CNN’s supposed “bias” against the Flynn family, and its failure to ask Plaintiffs for
  comment prior to airing the Report, are evidence of actual malice. Am. Compl. ¶ 23.d. They are incorrect –
  particularly in light of the fact that Jack Flynn tweeted the video himself. Bias alone is not enough to establish
  actual malice. Church of Scientology Int’l v. Time Warner, Inc., 903 F. Supp. 637, 641 (S.D.N.Y. 1995), on
  reconsideration, 932 F. Supp. 589 (S.D.N.Y. 1996), and aff’d sub nom. Church of Scientology Int’l v. Behar, 238
  F.3d 168 (2d Cir. 2001); see also Palin v. New York Times Co., 940 F.3d 804, 814 (2d Cir. 2019) (“political
  opposition alone does not constitute actual malice”). And courts around the country have held that failure to ask for
  comment is not evidence of actual malice. See, e.g., Secord v. Cockburn, 747 F. Supp. 779, 788 (D.D.C. 1990)
  (failure of author to apprise plaintiff of contents of book or give him the opportunity to correct errors prior to
  publication was not evidence of actual malice); Davis v. Costa-Gavras, 654 F. Supp. 653, 657 (S.D.N.Y. 1987)
  (failure to consult with plaintiff prior to making the film did not show actual malice).
  15
       For purposes of this motion only, CNN assumes, but by no means concedes, that Ms. Flynn is a private figure.


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  Plaintiffs also allege that CNN reviewed – and had knowledge of – the contents of Ms. Flynn’s

  Twitter feed. Id. ¶ 23.a. And, as discussed above, Ms. Flynn has at least twice liked Tweets that

  undeniably express support for QAnon. See supra, Section A.4.b. Far from showing “actual

  knowledge” of falsity, these facts suggest that CNN would have had reasonable grounds to

  believe that Ms. Flynn not only promoted a QAnon slogan but supported and followed the

  QAnon movement, had it reviewed Ms. Flynn’s account prior to airing the Report. They plainly

  have not met their burden of establishing the requisite standard of care.

           B.        Plaintiffs Fail To State A Claim For False Light Invasion Of Privacy

           Nor can Plaintiffs make out a claim for false light. Under Rhode Island law, false light is

  similar to defamation.16 Swerdlick, 721 A.2d at 859 (“We … address plaintiffs’ defamation and

  false-light claims together because the applicable law is similar”). It requires proof “that a

  plaintiff be given unreasonable and highly objectionable publicity that attributes to him

  characteristics, conduct or beliefs that are false, and so is placed before the public in a false

  position.” Cullen v. Auclair, 809 A.2d 1107, 1112 (R.I. 2002); see also R.I. Gen. Laws § 9-1-

  28.1(a)(4); Alves, 857 A.2d at 752. A finding of substantial truth defeats a false light claim.

  Swerdlick, 721 A.2d at 862 (“defendant’s statements … were based on substantially true facts,

  and thus cannot be relied upon to support an action for false light [or defamation]”). Here,

  Plaintiffs’ false light claim suffers from the same fatal flaws as their claim for defamation per se:

  it is substantially true to state that they followed and supported QAnon.17 Plaintiffs’ false light



  16
    New York does not recognize false light as a viable cause of action. See Freeman v. Johnston, 192 A.D.2d 250,
  253 (1993), aff’d, 84 N.Y.2d 52 (1994).
  17
    Plaintiffs’ false light claim also fails as to Jack Flynn because Plaintiffs have not shown actual malice. The
  Supreme Court has held that false light claims involving public figures – such as Jack Flynn, see supra, Section
  A.5.a.i – require a showing of actual malice. See Time, Inc. v. Hill, 385 U.S. 374, 389 (1967) (extending Sullivan
  actual malice standard to claim of false light invasion of privacy involving public figures and officials). Jack
  Flynn’s Twitter feed precludes a finding of actual malice. See supra, Section A.4.b.


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  claim must be dismissed for this reason.

           C.        This Court Should Award CNN Costs And Fees Associated With This
                     Motion

           CNN alerted Plaintiffs to many of the arguments contained herein in the Rule 11 Letter,

  including reminding them of the statements that they had made on the Twitter feed. Bolger Decl.

  ¶ 4, Ex. 2. But Plaintiffs persisted in bringing this claim. CNN should be awarded fees, costs,

  and expenses for the filing of this motion, pursuant to 28 U.S.C. § 1927 and this Court’s inherent

  authority, because the filing of a plainly frivolous Amended Complaint has multiplied the

  proceedings unreasonably and vexatiously. See Harvey v. Cable News Network, Inc., No. CV

  RDB-20-3068, 2021 WL 1215083, at *5 (D. Md. Mar. 31, 2021), reconsideration denied, No.

  CV RDB-20-3068, 2021 WL 1516009 (D. Md. Apr. 16, 2021) (assessing sanctions against

  “Plaintiff Harvey and [counsel herein] for unreasonably and vexatiously extending this matter in

  bad faith”); Sweetland v. Bank of Am. Corp., 241 F. App’x 92, 97 (4th Cir. 2007) (per curiam)

  (affirming sanctions where counsel “pursued plaintiffs’ claims well after he knew that

  evidentiary support for the allegations would not be forthcoming”). See also Lokhova v. Halper,

  995 F.3d 134, 149 (4th Cir. 2021) (noting “this is not the first time [Plaintiffs’] attorney[’s]

  litigation conduct has earned reprimand. His history of unprofessional conduct is long” and

  citing reprimands).

                                             CONCLUSION

           For the foregoing reasons, Defendant CNN respectfully requests this Court enter an order

  dismissing the Amended Complaint against it, with prejudice, and for such other and further

  relief as the Court deems just and proper.




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  Dated: New York, New York
         June 21, 2021

                                             Respectfully submitted,

                                             DAVIS WRIGHT TREMAINE LLP


                                             By: /s/ Katherine M. Bolger                  r
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           Pursuant to the Court’s individual practices Rule III.A and Local Civil Rule 6.1,

  Plaintiffs’ opposition must be filed within fourteen days, and any reply must be served within

  seven days of receipt of opposition papers.


  Dated: New York, New York
         June 21, 2021

                                                Respectfully submitted,

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